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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                 )
                                          )
                Plaintiff,                )       AMENDED ORDER GRANTING MOTION
                                          )       FOR RELEASE
        vs.                               )
                                          )
Sibashton Tre Holybear,                   )       Case No. 1:21-cr-235
                                          )
                Defendant.                )


        Defendant is in Marshals Service custody at the 4UVUTNBO $PVOUZ $PSSFDUJPOBM

Center inJamestown, North Dakota. On September 6, 2023, he filed a motion requesting to be

released to either the North Dakota State Hospital (“State Hospital”) in Jamestown or the

Prairie Recovery Center (“Prairie Recovery”) in Raleigh, North Dakota, for substance abuse

treatment.(Doc.No.243).

        OnSeptember6,2023, theUnitedStatesfiledaresponsetoDefendant’smotion. (Doc.No.

245). It stated, among other things, that it had no objection to Defendant’s release to Prairie

Recoveryprovidedthathecouldprovideconfirmationofhisacceptance.

        OnSeptember8,2023,thecourtissuedanorderinwhichitdeferredrulingonDefendant’s

motion as Prairie Recovery did not have bed space immediately available and Defendant’s

placementattheStateHospitalwascontingentuponhimsuccessfullycompletingareviewwiththe

SouthCentralHumanServiceCenter. (Doc.No.247).

        OnSeptember25,2023,thecourtissuedanorderdirectingDefendanttosupplementhis

motiontoadviseonthestatusoftheSouthCentralHumanServiceCenter’sreviewand/orprovide

datescertainonwhichPrairieRecoverywouldhavespaceforhim. (Doc.No.251).


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        OnSeptember29,2023,Defendantfiledasupplementtohismotionforrelease.(Doc.No.

254). HeadvisesthatPrairieRecoverynowhasabedavailableforhimasevincedbyanattached

acceptanceletterfromPrairieRecovery.Hefurtheradvisesthathisparentscantransporthimto

PrairieRecovery.

        TherebeingnoobjectionfromtheUnitedStatestoDefendant’sreleasetoPrairieRecovery,

thecourtGRANTSDefendant’smotion(Doc.No.243). Defendantshallbereleasednoearlierthan

9:00 AM CDT on October 4, 2023, to his parents or other persons(s) approved by the Pretrial

ServicesforimmediatetransporttoPrairieRecovery.Defendant'sreleaseissubjecttothefollowing

conditions:

        (1)     Defendant shall not violate federal, state, tribal, or local law while on release.

        (2)     Defendant shall appear in court as required and surrender for any sentence imposed.

        (3)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

                drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

                unless prescribed by a licensed medical practitioner, and any use of inhalants.

                Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

                Services Officer to verify compliance. Failure or refusal to submit to testing or

                tampering with the collection progress or specimen may be considered the same as

                a positive test.

        (4)     Defendant shall report to the Pretrial Services Officer at such times and in such

                manner as designated by the Officer.

        (5)     Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

        (6)     Defendant shall not knowingly or intentionally have any direct or indirect contact


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       with witnesses or co-defendant, except that counsel for Defendant, or counsel's agent

       or authorized representative, may have such contact with such person(s) as is

       necessary in the furtherance of Defendant's legal defense.

(7)    Defendant shall reside at Prairie Recovery, fully participate in its programming, and

       comply with all of its rules and regulations.

(8)    Defendant must sign all release forms to allow the Pretrial Services Officer to obtain

       information from Prairie Recovery OR to communicate with Prairie Recovery staff

       about his progress in the program.

       Any passes allowed by Prairie Recovery must be approved by the Pretrial Services

       Officer.

       If for any reason Defendant is terminated from Prairie Recovery’s treatment

       program, he must immediately report to the United States Marshal.

       At least 96 hours prior to anticipated completion of the treatment program,

       Defendant must advise the Pretrial Services Officer of his anticipated completion

       date so the court may schedule a hearing to review his release status.

(9)    Defendant shall submit his person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services

       Officer. Failure to submit to a search may be grounds for revocation of his release.

       Defendant shall notify any other residents that the premises may be subject to

       searches pursuant to this condition.

(10)   Defendant must report as soon as possible, to the Pretrial Service Office or his

       supervising Pretrial Service Officer, every contact with law enforcement personnel,


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       including arrests, questioning, or traffic stops.

(11)   Upon arriving at Prairie Recovery, Defendant shall immediately contact Pretrial

       Services Officer Skylar Soupir at (701) 530-2416.

IT IS SO ORDERED.

Dated this 2nd day of October, 2023.
                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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